                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 1 of 21




                  1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
                     Charles K. Verhoeven (Bar No. 170151)
                  2  charlesverhoeven@quinnemanuel.com
                     David A. Perlson (Bar No. 209502)
                  3  davidperlson@quinnemanuel.com
                     Melissa J. Baily (Bar No. 237649)
                  4  melissabaily@quinnemanuel.com
                     John Neukom (Bar No. 275887)
                  5  johnneukom@quinnemanuel.com
                     Jordan Jaffe (Bar No. 254886)
                  6  jordanjaffe@quinnemanuel.com
                    50 California Street, 22nd Floor
                  7 San Francisco, California 94111-4788
                    Telephone:      (415) 875-6600
                  8 Facsimile:      (415) 875-6700

                  9 Attorneys for WAYMO LLC

                10                             UNITED STATES DISTRICT COURT

                11                            NORTHERN DISTRICT OF CALIFORNIA

                12                                SAN FRANCISCO DIVISION

                13 WAYMO LLC,                                 CASE NO. 3:17-cv-00939

                14               Plaintiff,                   WAYMO’S RESPONSE TO ORDER RE
                                                              LETTER FROM UNITED STATES
                15         vs.
                                                              ATTORNEY (DKT. 2261)
                16 UBER TECHNOLOGIES, INC.;
                   OTTOMOTTO LLC; OTTO TRUCKING LLC,
                17                                            Judge: The Honorable William Alsup
                             Defendants.
                18
                19                                            REDACTED VERSION OF DOCUMENT
                                                              SOUGHT TO BE FILED UNDER SEAL
                20

                21

                22

                23

                24

                25

                26
                27

                28

01980-00104/9703937
                                                                  WAYMO NOTICE OF U.S. ATTORNEY LETTER
                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 2 of 21




                  1         Throughout this case, Uber has been trumpeting its alleged exhaustive search for Waymo

                  2 documents and that nothing has been found on Uber’s servers. It now appears that,

                  3

                  4

                  5

                  6         On November 22, seven days before the parties are to pick a jury, the Acting U.S. Attorney for

                  7 the Northern District of California informed the Court                                                not

                  8 previously disclosed to the Court or Waymo, that

                  9 Specifically,
                10

                11

                12

                13

                14

                15

                16

                17

                18 The heavily redacted copy of the Jacobs Letter, finally produced by Uber at 11:54 p.m. on November
                19 24, and only after the Court’s Notice, is attached as Ex. 1. The information in the U.S. Attorney Letter

                20 and Jacobs Letter                                                                         . As the Jacobs

                21 Letter reveals,

                22

                23

                24

                25
                26
                27

                28          Yet, even though it                              at issue in this case, was responsive to multiple

01980-00104/9703937
                                                                      -1-
                                                                              WAYMO NOTICE OF U.S. ATTORNEY LETTER
                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 3 of 21




                  1 Waymo discovery requests and Court orders, and was sent more than six months ago, to an in-house

                  2 Uber lawyer who was deposed in this very action, Uber hid the Jacobs Letter and

                  3                               from the Court and Waymo. Uber has so far not disputed that the Jacobs

                  4 letter and documents and information regarding Uber’s conduct described therein was responsive to

                  5 Waymo’s discovery requests or Court Orders. Nor could it. Among other things, as detailed further

                  6 below, Waymo’s document requests sought all documents regarding the Ottomotto acquisition and all

                  7 documents and communications regarding the misappropriated materials. Waymo also served an

                  8 interrogatory seeking Uber’s “policies and practices with respect to the retention and/or destruction

                  9 of” documents, “including without limitation emails, instant messages, electronically stored
                10 information, and hard copies), from 2014 to the present.” The Court’s Preliminary Injunction Order

                11 required Uber to provide “a complete and chronologically organized log of all oral and written

                12 communications — including, without limitation, conferences, meetings, phone calls, one-on-one

                13 conversations, texts, emails, letters, memos, and voicemails — wherein Anthony Levandowski

                14 mentioned LiDAR to any officer, director, employee, agent, supplier, or consultant of defendants” (Dkt.

                15 426 at 25, ¶ 5), and the March 16 Expedited Discovery Order ordered Uber to “produce all documents

                16 bearing on [the] deletion, destruction, or modification” of any part of downloaded materials. (Dkt. 61

                17 at 2.) Yet, Uber produced nothing regarding the Jacobs Letter

                18          . So Waymo has literally zero information about them other than the heavily redacted Jacobs
                19 Letter it got late Friday night. Indeed, the letter                                  would have remained

                20 concealed altogether had the Acting U.S. Attorney

                21                 sufficiently material as to warrant an entirely unprompted letter to the Court on the eve of

                22 trial.    The only possible conclusion is that Uber intentionally withheld the Jacobs Letter and related

                23 materials to prevent Waymo from discovering material evidence in this case.

                24           We are now seven days from trial in this action and Waymo has only just learned – from

                25 information discovered and provided to the Court by the Acting U.S. Attorney for the Northern
                26 District of California – of new evidence that
                27

                28                                                             Waymo has been severely prejudiced by its

01980-00104/9703937
                                                                         -2-
                                                                                WAYMO NOTICE OF U.S. ATTORNEY LETTER
                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 4 of 21




                  1 inability to discover this evidence in the ordinary course, and by the sudden need to divert resources

                  2 from trial prep days before trial is scheduled to begin to investigate and assess the impact of this

                  3 latest example of                     As detailed below, the highly relevant assertions in the Jacobs

                  4 Letter will require extensive discovery and investigation. This includes document and deposition

                  5 discovery into:

                  6

                  7

                  8

                  9
                10

                11

                12

                13

                14

                15

                16

                17

                18
                19           Waymo is entitled to take the depositions of Travis Kalanick, Angela Padilla, Uber’s expert

                20 on its supposed search for misappropriated material, and others. And Waymo will further require

                21 depositions of the several individuals who have relevant information that Uber never previously

                22 disclosed,

                23

                24

                25
                26                                                      Waymo also needs to depose

                27

                28

01980-00104/9703937
                                                                      -3-
                                                                             WAYMO NOTICE OF U.S. ATTORNEY LETTER
                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 5 of 21




                  1                                                                                  It is impossible to do all

                  2 this discovery before trial commences on December 4, just one week from now. The prejudice to

                  3 Waymo from Uber’s inexcusable conduct here cannot be overstated.

                  4    I.

                  5

                  6         According to the U.S. Attorney Letter,

                  7

                  8

                  9                                                               The letter states that

                10

                11                                                                                                           It

                12 also informs the Court that Mr. Jacobs told the government that

                13

                14

                15

                16

                17

                18                         Finally, the U.S. Attorney Letter

                19

                20

                21

                22          Incredibly, despite being responsive to numerous document requests, see Section III, infra,

                23 neither the May 5, 2017 letter from Richard Jacobs’ attorney to Ms. Padilla nor

                24

                25                  were previously produced to Waymo. Waymo is not aware of any entry in any Waymo

                26 privilege log entry that correlates to the letter. Uber never provided any information regarding Mr.
                27 Jacobs’ letter or the facts therein response to any interrogatory or otherwise.

                28          By letter dated November 24, Waymo requested that Defendants immediately produce the

01980-00104/9703937
                                                                       -4-
                                                                               WAYMO NOTICE OF U.S. ATTORNEY LETTER
                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 6 of 21




                  1 Jacobs Letter and                                                 Waymo additionally requested: (1) any

                  2 additional materials related to the                                            and the Jacobs Letter, (2) all

                  3 documents related to the allegations discussed in either the U.S. Attorney Letter or the Jacobs Letter, (3)

                  4 all documents or materials related to any efforts by Uber to investigate the allegations contained in either

                  5 Letter,

                  6                                                                                                         , (4)

                  7 confirmation that Mr. Jacobs is no longer an Uber employee, and (5) contact information for Mr. Jacobs.

                  8 (Ex. 2 [QE 11/24 Letter].) Uber produced the Jacobs Letter – in heavily redacted form – at 11:54 p.m.

                  9 on November 24. (Ex. 1 [Jacobs Letter].) Almost half the document is redacted. See id. Uber also
                10 designated the redacted version of the letter “Attorneys’ Eyes Only.”1 Uber has otherwise refused to

                11 provide any further information or documents in response to Waymo’s inquiries.

                12     II.    The Jacobs Letter Describes

                13

                14

                15

                16                                                         His letter to Padilla

                17

                18
                19

                20

                21            In particular, the unredacted portions of the Jacobs Letter

                22

                23

                24

                25
                26
                       1
                          Waymo challenged Uber’s extensive redactions and its designation of the Jacobs Letter as
                27 “Attorneys Eyes Only” at a meet and confer on November 25. (Ex. 3 [J. Judah 11/25 Email].) Uber

                28 has only permitted two Waymo attorneys to review the unredacted document at Morrison & Foerster
                   LLP’s San Francisco office. (Ex. 4 [A. Gonzalez 11/25 Email].)
01980-00104/9703937
                                                                         -5-
                                                                                 WAYMO NOTICE OF U.S. ATTORNEY LETTER
                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 7 of 21




                  1

                  2

                  3

                  4

                  5

                  6

                  7

                  8

                  9
                10

                11

                12

                13

                14

                15         Two of Waymo’s attorneys were also permitted to review an unredacted version of the letter at

                16 MoFo’s offices on November 25. (Ex. 5 [Judah Decl.], ¶ 2.)

                17

                18
                19

                20

                21

                22

                23

                24         Second, the Jacobs Letter

                25
                26
                27

                28

01980-00104/9703937
                                                                    -6-
                                                                           WAYMO NOTICE OF U.S. ATTORNEY LETTER
                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 8 of 21




                  1

                  2

                  3

                  4

                  5

                  6

                  7

                  8

                  9
                10

                11

                12

                13

                14

                15
                      III.   The Jacobs Letter                               Were Improperly Withheld From The Court
                16           And Waymo
                17           As set forth below, the Jacobs Letter,                   , and related materials, are highly material

                18 and obviously responsive to numerous Waymo discovery requests and this Court’s discovery Orders.
                19 Uber violated its discovery duties and likely the Orders of this Court by hiding this information.

                20           For example

                21 are responsive to RFP No. 29, which sought “All DOCUMENTS and COMMUNICATIONS

                22 REGARDING negotiations over UBER’s acquisition of OTTOMOTTO.” These documents are
                                                                                2


                23
                         2
                24           See, e.g., Jacobs Letter at 13

                25
                26
                27

                28
                                                                               .
01980-00104/9703937
                                                                       -7-
                                                                                   WAYMO NOTICE OF U.S. ATTORNEY LETTER
                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 9 of 21




                  1 also responsive to RFP No. 73, which requested “All DOCUMENTS AND COMMUNICATIONS

                  2 REGARDING the MISAPPROPRIATED MATERIALS, INCLUDING but not limited to (i)

                  3 DOCUMENTS containing any information derived from the MISAPPROPRIATED MATERIALS,

                  4 (ii) any electronic media that contains or contained the MISAPPROPRIATED MATERIALS, and

                  5 (iii) any DOCUMENTS REGARDING any meetings or discussions REGARDING the substance

                  6 of the MISAPPROPRIATED MATERIALS outside of WAYMO.” More broadly, documents

                  7 regarding Uber’s polices or practices regarding the

                  8

                  9
                10                                                          should have been disclosed in response to

                11 Waymo’s Common Interrogatory No. 8, which asked Uber to “Describe in detail YOUR policies

                12 and practices with respect to the retention and/or destruction of DOCUMENTS (including without

                13 limitation emails, instant messages, electronically stored information, and hard copies), from 2014

                14 to the present.”

                15           Documents related to                                     Jacobs Letter, including

                16

                17

                18                                                would also be responsive numerous discovery requests.
                19 For example, evidence of

                20                     (Ex. 1 [Jacobs Letter], at 13) should have been disclosed in response to at least the

                21 following Waymo requests:

                22          RFP No. 29. All DOCUMENTS and COMMUNICATIONS REGARDING negotiations
                             over UBER’s acquisition of OTTOMOTTO.
                23

                24          RFP No. 30. ALL DOCUMENTS REGARDING any                               consulting    work    by
                             LEVANDOWSKI for UBER'S acquisition of OTTOMOTTO.
                25
                             Further, evidence regarding the substance of the Jacobs Letter should have disclosed in
                26
                      response to at least the following Waymo requests:
                27
                            RFP No. 28. All DOCUMENTS and COMMUNICATIONS REGARDING UBER’s due
                28           diligence of OTTOMOTTO.

01980-00104/9703937
                                                                      -8-
                                                                              WAYMO NOTICE OF U.S. ATTORNEY LETTER
                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 10 of 21




                  1
                             RFP No. 72. All DOCUMENTS REGARDING DEFENDANTS’ policies regarding
                  2           employees’ use of personal computers or other devices while working at or for
                              DEFENDANTS.3
                  3

                  4          RFP No. 73. All DOCUMENTS AND COMMUNICATIONS REGARDING the
                              MISAPPROPRIATED MATERIALS, INCLUDING but not limited to (i) DOCUMENTS
                  5           containing any information derived from the MISAPPROPRIATED MATERIALS, (ii) any
                              electronic media that contains or contained the MISAPPROPRIATED MATERIALS, and
                  6           (iii) any DOCUMENTS REGARDING any meetings or discussions REGARDING the
                  7           substance of the MISAPPROPRIATED MATERIALS outside of WAYMO.

                  8          Expedited RFP No. 17. All COMMUNICATIONS between Travis Kalanick and any
                              PERSON REGARDING, LEVANDOWSKI, OTTOMOTTO or OTTO TRUCKING before
                  9           August 23, 2016.
                10           Expedited Interrogatory No. 3. IDENTIFY all Uber Devices and Non-Uber Devices (as
                              those terms are defined in UBER00006444) that LEVANDOWSKI has used to access any
                11            of DEFENDANTS’ Networks (as that term is defined in UBER00006444), or that
                              LEVANDOWSKI could have used to access any of DEFENDANTS’ Networks (as that term
                12            is defined in UBER00006444).4
                13           Common Interrogatory No. 8. Describe in detail YOUR policies and practices with respect
                              to the retention and/or destruction of DOCUMENTS (including without limitation emails,
                14            instant messages, electronically stored information, and hard copies), from 2014 to the
                              present.
                15
                              Despite these repeated requests, however, Uber has refused to provide any explanation as to why
                16
                      these materials were withheld from the Court and Waymo. Nor does Uber dispute that these materials
                17
                      would have continued to be concealed from Waymo had the Acting U.S. Attorney not felt compelled to
                18
                      inform the Court of the information contained in them.
                19
                              Uber also likely violated Court Orders by concealing information about
                20
                                                                                                     The Court’s April 4 Order
                21
                      Re Discovery Hearing (Dkt. 144) required Defendants to bring “[a] list of all servers (and their locations)
                22
                      used at any time in any way for defendants’ LiDAR-related activities” and expressly instructed
                23

                24

                25        3
                          During a July 5, 2017 meet-and-confer, Waymo agreed to limit the scope of this request
                26 (without prejudice) to Levandowski’s use of a personal computer while working at or for Uber or
                   Ottomotto.
                27     4
                         UBER00006444 is Uber’s “Network & Device Acceptable Use Policy.” It defines “Uber
                28 Devices” as “Devices owned and/or issued by Uber” and “Non-Uber Devices” as “Devices owned
                   by persons or parties other than Uber.”
01980-00104/9703937
                                                                         -9-
                                                                                  WAYMO NOTICE OF U.S. ATTORNEY LETTER
                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 11 of 21




                  1 Defendants to “not leave anything off the list merely because some other server supposedly houses the

                  2 same materials.” (Dkt. 144 at 1.) The Jacobs Letter indicates that shortly after the Ottomotto acquisition,

                  3

                  4

                  5                                                                                     (Ex. 1 [Jacobs Letter],

                  6 at 9-10, 13.) It is very likely

                  7                       at some time and in some way in connection with LiDAR-related activities, but no

                  8 such           were disclosed in Uber’s response to the April 4 Order. (Ex. 6 [Response to Dkt. 144].)

                  9 Moreover, the Court’s Preliminary Injunction Order provided that “Waymo’s counsel and one expert
                10 may inspect any and all aspects of defendants’ ongoing work involving LiDAR” (Dkt. 426 at 25, ¶ 6),

                11 yet Waymo was never permitted to inspect any such work conducted through

                12                                                .

                13           Uber’s compliance with the Court’s March 16 Expedited Discovery Order (Dkt. 61) is also

                14 called into question by the revelations in the Jacobs Letter. The Court ordered Uber to “produce all

                15 documents bearing on [the] deletion, destruction, or modification” of any part of downloaded materials.

                16 (Dkt. 61 at 2.) The Jacobs Letter                                                               and should

                17 have been disclosed pursuant to Uber’s continuing obligation to comply with the Order, as would

                18
                19

                20           Further, the Court’s Preliminary Injunction Order required Uber to provide “a complete and

                21 chronologically organized log of all oral and written communications — including, without limitation,

                22 conferences, meetings, phone calls, one-on-one conversations, texts, emails, letters, memos, and

                23 voicemails — wherein Anthony Levandowski mentioned LiDAR to any officer, director, employee,

                24 agent, supplier, or consultant of defendants.” (Dkt. 426 at 25, ¶ 5.) Waymo has uncovered evidence of

                25 meetings between Travis Kalanick and Anthony Levandowski wherein LiDAR was discussed, but that
                26 have never been included on Uber’s Paragraph 5 Log. One example, raised in Waymo’s Supplemental
                27 Brief in support of a Motion for Order to Show Cause, is the January 3, 2016 white-boarding session

                28 between Mr. Levandowski, Mr. Kalanick, and Jeff Holden. (Dkt. 1501-4 at 8; Dkt. 1501-8.) Uber

01980-00104/9703937
                                                                        -10-
                                                                                WAYMO NOTICE OF U.S. ATTORNEY LETTER
                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 12 of 21




                  1 argued that omitting this LiDAR-related meeting from its log was excusable because, as explained in a

                  2 declaration provided by an Uber attorney, “[w]ith respect to the January 3, 2016 white-board session,

                  3 Mr. Kalanick and Mr. Holden did not remember this meeting and they did not have calendar entries for

                  4 it that could have been used to refresh their memories.” (Dkt. 1592-1 at 2.) The absence of any calendar

                  5 entries for this meeting, or any other written documentation relating to its scheduling or existence

                  6 (beyond the white-boarding notes themselves, which were produced by Uber on the final day of fact

                  7 discovery), suggests that it

                  8                                                                                             in response to

                  9 the Court’s Order.
                10           Finally, to the extent Uber did not interview                       , or search

                11           , in connection with Paragraph 4 of the Preliminary Injunction, that would be a violation of that

                12 portion of the PI Order as well.

                13    IV.    The Jacobs Letter Is Relevant to Uber’s Liability to Waymo And To Its
                             Spoliation of Evidence
                14
                             The evidence set forth in the Jacobs Letter
                15

                16
                                                                                                               . As discussed
                17
                      above, see Section II, supra, the Jacobs Letter indicates that:
                18
                19

                20

                21

                22

                23

                24

                25
                26
                             In addition to providing yet more potential evidence of Uber’s serious misconduct –
                27
                                                   – the Jacobs Letter also raises serious questions about Uber’s compliance
                28

01980-00104/9703937
                                                                       -11-
                                                                                WAYMO NOTICE OF U.S. ATTORNEY LETTER
                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 13 of 21




                  1 with its discovery obligations in this case, and suggests,

                  2

                  3           As detailed elsewhere (Dkt. 2197-5 [Waymo Adverse Inference Opening Brief]; Dkt. 2265-2

                  4 [Adverse Inference Reply Brief]), even without the Jacobs Letter the evidentiary record was already

                  5 replete with evidence that

                  6

                  7

                  8          Uber’s failure to produce these materials is particularly troublesome given Ms. Padilla’s

                  9 testimony subsequent to the Jacobs Letter. Ms. Padilla denied personal knowledge of precisely where
                10 Uber searched for responsive materials.5 But she did testify that Uber had searched “everywhere” to

                11 comply with its obligations under the Court’s Order. (See Ex. 7 [Padilla Tr.], at 45:3-13 (Q. So you

                12 can’t testify as to what sources within Uber were searched or not searched in – to comply with the court’s

                13 [expedited discovery] order; is that right? A. I don’t know if that impinges on privilege or not. Q. Okay.

                14 What sources did Uber search within Uber to comply with the court’s order? A. As far as I recall,

                15 everywhere. Meaning we took this order very, very seriously and put a ton of people power on the

                16 direction here in paragraph 4. And I believe we also retained outside experts to help us and moved

                17 heaven and earth to look under every rock and understand the answer to paragraph 4.”).)

                18           Strikingly, the Jacobs letter reveals Uber’s repeated representations to the Court, Waymo and
                19 general public that

                20                                                     .

                21

                22                                             Uber was loudly proclaiming to this Court and the world that

                23 “there is no evidence that any of the 14,000 files in question ever touched Uber’s servers.” See USA

                24

                25
                         5
                          (See, e.g., Ex.7 [Padilla Tr.], at 46:10-47:1 (“Q. … Uber did not search every electronic source
                   of data within Uber in response to the Court’s March 16 order? Would you agree with that? A. I don’t
                26 have a basis to agree or not agree. I’m sure that what we searched was based on identifying the most
                   likely places where any of this information would -- would be found, if it was there at all.
                27 Q. Okay. What areas were searched specifically? A. For that, you would have to ask others on the

                28 team or outside counsel and the vendor that helped us. Q. Okay. You don’t -- you don’t know that --
                   you don’t have any personal knowledge of that yourself? A. I really don’t.”).)
01980-00104/9703937
                                                                       -12-
                                                                                 WAYMO NOTICE OF U.S. ATTORNEY LETTER
                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 14 of 21




                  1 Today, Uber says self-driving car files never touched its servers (April 7, 2017) (quoting a statement

                  2 from Angela Padilla) available online at https://www.usatoday.com/story/tech/news/2017/04/07/uber-

                  3 says-stolen-self-driving-car-files-never-touched-its-servers/100174652/ (last accessed 11/26/2017)

                  4 (emphasis added). (See also Dkt. 734 [6/23/17 Hr’g Tr.], 11:19-23 (“Uber has conducted extensive

                  5 searches of its servers and files for these 14,000 files and has found nothing. And so all evidence is Uber

                  6 does not even possess these 14,000 files….”); Dkt. 173-3 [Uber Preliminary Injunction Opp.] at 7)

                  7 (“A search of Uber’s computers has not yielded any of the 14,000 files Waymo alleges that Uber

                  8 misappropriated….”).) Even if, arguendo, Uber’s arguments are to be believed, the Jacobs Letter

                  9 indicates that there may be a very good reason why the “14,000 files in question” were supposedly not
                10 found on Uber’s servers

                11

                12

                13     V.    Discovery That Would Be Needed To Investigate The Scope Of Uber’s
                             Against Waymo
                14
                             The                                  assertions in the Jacobs Letter require a further detailed and
                15
                      lengthy investigation to discover the extent to which                                in the Jacobs Letter
                16
                      relates to Waymo’s trade secret claims and spoliation arguments here. This includes document and
                17
                      deposition discovery into topics such as:
                18
                         
                19

                20

                21

                22       

                23

                24

                25
                26
                27

                28

01980-00104/9703937
                                                                         -13-
                                                                                 WAYMO NOTICE OF U.S. ATTORNEY LETTER
                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 15 of 21




                  1

                  2

                  3

                  4

                  5

                  6

                  7

                  8

                  9
                10

                11

                12

                13

                14

                15

                16

                17

                18           Additional depositions are also needed as the new evidence presented in the Jacobs Letter and

                19 U.S. Attorney Letter calls into questions the testimony of multiple witnesses deposed in this case and

                20 identifies new, previously-undisclosed witnesses, with firsthand knowledge of key evidence relating to

                21 Waymo’s claims. In particular, Waymo seeks to re-depose the following witnesses concerning the

                22 contents of the Jacobs Letter, including the information presented relating to

                23

                24

                25          Travis Kalanick.

                26
                27

                28
                            Angela Padilla. The recipient of the Jacobs Letter (id.) , Ms. Padilla has firsthand knowledge
01980-00104/9703937
                                                                     -14-
                                                                              WAYMO NOTICE OF U.S. ATTORNEY LETTER
                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 16 of 21




                  1          of any Uber response or investigation into the activities discussed in it. She was also involved
                             directly in preparing Uber’s discovery responses in this action.
                  2
                            Kevin Faulkner. Mr. Faulkner is a Managing Director and head of the New York digital
                  3
                             forensics lab at Stroz Friedberg and he submitted two expert reports in this action. As such, he
                  4          has firsthand knowledge of what was –                          – searched in connection with the
                             Stroz investigation and report. In particular, Waymo seeks testimony from him on his awareness
                  5          of
                                                                                                         ” (id. at 6) to conceal
                  6          documents and communications from discovery and
                  7                                   by Stroz either in connection with its initial investigation or his expert
                             reports.6
                  8
                             The Jacobs Letter also indicates that the following Uber executives and managers may have
                  9
                      evidence relevant to Waymo’s claims and/or Uber’s spoliation of evidence in anticipation of this action.
                10
                            Richard Jacobs.
                11

                12

                13

                14          Mat Henley.

                15

                16

                17

                18
                19
                            Joe Sullivan.
                20

                21

                22

                23

                24

                25
                26          Craig Clark.
                27
                         6
                28          Mr. Faulker has been deposed once to date, on the opinions set forth in his initial report; a
                      second deposition regarding his supplemental report is planned.
01980-00104/9703937
                                                                        -15-
                                                                                 WAYMO NOTICE OF U.S. ATTORNEY LETTER
                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 17 of 21




                  1

                  2

                  3

                  4

                  5

                  6

                  7         Nick Gicinto.

                  8

                  9
                10

                11

                12

                13          Ed Russo.
                14

                15

                16

                17

                18
                19
                            Kevin Maher.
                20

                21

                22

                23          Jake Nocon.

                24
                                                                                          .
                25
                26           Other Uber staffers mentioned in the Jacobs Letter who may have relevant testimony include:

                27

                28

01980-00104/9703937
                                                                     -16-
                                                                             WAYMO NOTICE OF U.S. ATTORNEY LETTER
                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 18 of 21




                  1 Of course, all Waymo has now is the redacted Jacobs Letter. Full discovery into these issues will no

                  2 doubt reveal further relevant witnesses, documents, and other information.

                  3   VI.    Uber Improperly Redacted and Designated the Jacobs Letter “Attorney’s Eyes Only”

                  4          Waymo counsel has repeatedly requested that Uber remove its improper “Attorneys’ Eyes Only”

                  5 designation from the Jacobs Letter, including during a meet and confer with the Special Master and in

                  6 multiple emails sent on November 25. (Ex. 3 [J. Judah 11/25/17 Email]; Ex. 8 [D. Perlson 11/24/17

                  7 Email.) Yet, Uber has never explained why any portion of the letter qualifies for “Attorneys’ Eyes Only”

                  8 protection under the Protective Order governing production in this case, or any other designation.

                  9 Further, Uber’s approach to redactions for “relevance” mirrors the approach it took when trying to
                10 conceal the letter from Uber investors that led to Travis Kalanick’s resignation as Uber’s CEO – an

                11 approach that was rejected out of hand by Judge Corley. (Ex. 8 [D. Perlson 11/24/17 Email (citing

                12 7/20/2017 Hr’g Tr. at 4:11-5:2)], at 1. ) We further pointed out that:
                                                          7



                13           it is clear from the face of the unredacted portions of the Jacobs Letter that

                14

                15

                16

                17                                                             .

                18 (Ex. 3 [J. Judah 11/25 Email], at 1 (emphasis added).) In response, Uber’s counsel compared
                19

                20

                21                                                                          (Ex. 4 [A. Gonzalez 11/25 Email],

                22 at 1.)

                23           Uber’s analogy to the Stroz materials serves only to underline the impossibility of getting

                24 adequate discovery before the December 4 trial. Once again, Defendants are using entirely improper

                25 privilege assertions to conceal evidence that is highly relevant to Waymo’s claims. The redacted
                26
                27       7
                         As Judge Corley has already made abundantly clear in this very action, parties are not permitted
                28 to redact information from production absent “a good faith belief that it is attorney-client privilege or
                   work product privilege.” (Dkt. 516 [5/25/17 Hr’g Tr.], at 23:10-13.)
01980-00104/9703937
                                                                        -17-
                                                                                   WAYMO NOTICE OF U.S. ATTORNEY LETTER
                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 19 of 21




                  1 portions of the Jacobs Letter

                  2

                  3

                  4

                  5

                  6

                  7                                                                                 Waymo should be permitted

                  8 immediate discovery into this                        . In particular, Waymo should be permitted to fully

                  9 explore the extent to which Uber targeted Waymo with the same misconduct described in the Jacobs
                10 Letter and/or used identical tactics                                         prior to the acquisition closing.

                11 Defendants’ attempt to prevent that discovery on the eve of trial by reasserting bogus privilege assertions

                12 and confidentiality designations should not be tolerated by this Court.

                13 VII.       Uber Should Not Be Heard To Object To Waymo’s Discovery Into Information Revealed
                              In The Jacobs Letter
                14
                              The undersigned counsel for Waymo received a redacted “Attorneys Eyes Only” version of the
                15
                      Jacobs Letter at 11:54 p.m. on November 24. Over the last couple of days, we have undertaken as
                16
                      extensive a review as possible of Uber’s existing production in an effort to ascertain both the scope of
                17
                      prejudice to Waymo and whether any of the new information contained in the Jacobs Letter could have
                18
                      been gleaned from Uber’s production. In short, we have not been able to identify any evidence
                19
                      whatsoever that would have revealed any of this new information.
                20
                              For example, our searches of Uber’s production for reference to
                21
                             , and the key individuals (including          ) involved in                 described in the Jacobs
                22
                      Letter, revealed no hits.8 We also found no reference to Richard Jacobs, no evidence of any discussion
                23
                      of the information contained in the Jacobs Letter, and no reference to
                24
                                                                                           anywhere in the production. There is
                25
                26
                         8
                             For example, we searched Uber’s production and found no references to:
                27

                28
                                                                     .
01980-00104/9703937
                                                                         -18-
                                                                                 WAYMO NOTICE OF U.S. ATTORNEY LETTER
                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 20 of 21




                  1 also no mention of the information contained in the Jacobs Letter in any of Uber’s interrogatory

                  2 responses.

                  3          Further, none of Uber’s privilege log entries appears to relate to either the contents of the Jacobs

                  4 Letter or any investigation into the information contained in it. Even if they did, there is nothing

                  5 remotely privileged about either the Jacobs Letter – a letter from a third party to Uber – or the facts it

                  6 reveals, and nothing that could have justified Uber’s withholding of the letter on privilege grounds even

                  7 if it had sought to take such a step.9 Thus, even without the skepticism that must now envelope any

                  8 claim of privilege by Uber in light of

                  9
                10                                         (Ex. 1 [Jacobs Letter], at 8-9), any post-hoc privilege assertions

                11 should be dismissed out of hand. To the extent any privilege may once have existed, it has long-since

                12 been waived.

                13           As this Court is aware, Uber has repeatedly – as recently as last week – argued to this Court that

                14 its rampant, intentional spoliation of evidence relevant to Waymo’s trade secret misappropriation claims

                15 was innocent and “Uber did not act in bad faith in connection with any of the instances of alleged

                16 destruction of evidence….” (Dkt. 2240-4 [Defendants Spoliation Opp.], at 22.) We know now that at

                17 the very same time that Defendants were making these representations to the Court, they were

                18
                19

                20                 Such              behavior should not be tolerated by this Court.

                21 VIII.     A Continuance Is Appropriate To Provide Waymo With Sufficient Time To Fully
                             Evaluate The Malfeasance And Spoliation Described In The Jacobs Letter
                22
                             This case is scheduled to go to trial in one week. Jury selection is in two days. Yet, Waymo has
                23
                      once again been forced to redirect its resources from trial – this time to investigate and respond to the
                24

                25
                26
                27

                28
                         9
                            As discussed above, see Section VI, supra, Uber’s extensive redactions of the document are
                      inappropriate for the same reason.
01980-00104/9703937
                                                                        -19-
                                                                                 WAYMO NOTICE OF U.S. ATTORNEY LETTER
                      Case 3:17-cv-00939-WHA Document 2281-3 Filed 11/27/17 Page 21 of 21




                  1

                  2           It is highly unusual for an Acting U.S. Attorney,                                         , to

                  3 send a letter to a court in a civil proceeding providing information which, if true,

                  4                     Again, the Jacobs Letter explicitly says

                  5

                  6        These letters also cast serious doubt on Uber’s claims to have engaged in good faith discovery in

                  7 this action; at worst, they provide evidence that

                  8                                  .

                  9          Waymo needs time to get to the bottom of this and to complete the necessary document and
                10 deposition discovery discussed above. Given Uber’s consistent failures to meet its discovery obligations

                11 in this case, and apparent misrepresentations to this Court, Waymo has no choice but to seek a

                12 continuance of the trial date to enable Waymo to take additional discovery on this new information that

                13 is indisputably relevant to Waymo’s trade secret misappropriation claims.

                14

                15 Respectfully submitted,

                16 DATED: November 27, 2017                        QUINN EMANUEL URQUHART & SULLIVAN, LLP

                17                                                   By /s/ Charles K. Verhoeven
                18                                                      Charles K. Verhoeven
                                                                        Attorneys for WAYMO LLC
                19

                20

                21

                22

                23

                24

                25
                26
                27

                28

01980-00104/9703937
                                                                        -20-
                                                                                WAYMO NOTICE OF U.S. ATTORNEY LETTER
